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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                           GALVESTON DIVISION

LONG BA NGUYEN, and                     §
LAN N HUYNH, each individually          §
and on behalf of all those similarly    §
situated,                               §
             Plaintiffs                 §
                                        §
v.                                      § CIVIL ACTION NO. __________________
                                        §
BANK OF AMERICA, N.A.                   §
         Defendant.                     §


                           CLASS ACTION COMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT COURT:

      COME NOW the Plaintiffs, through undersigned counsel, on behalf of themselves

and all persons similarly situated, and allege the following based on personal knowledge

as to allegations regarding the Plaintiffs and on information and belief as to other

allegations against Defendant, Bank of America, N.A. (“Bank of America” or “Bank”),

and show the following:

                                  INTRODUCTION

      1.     This is a civil action seeking monetary damages, restitution and declaratory

relief from Bank of America, arising from its deceptive, unfair and unconscionable

conduct in the processing of automatic mortgage payments; the persistent miscalculation

of interest charges when applying mortgage payments; and its unilateral modification of

its automatic mortgage payment agreements. These schemes, and each of them, have
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resulted in Plaintiffs paying more interest than agreed, and paying such interest over a

longer period of time than agreed.

       2.     Bank of America offered its home mortgage finance customers an

automatic mortgage deduction plan called “PayPlan.”         Bank of America customers

include those customers of Countrywide Financial that became customers of Bank of

America when the Bank purchased Countrywide outright in 2008. Bank of America

promoted PayPlan by telling customers that if he or she enrolled in PayPlan, and agreed

to allow the Bank to withdraw the monthly mortgage payment owed in either twice

monthly or weekly installments — the total of the payments over the course of the month

roughly equaling the total monthly payment owed — the customer would effectively pay

off their mortgage sooner, resulting in less interest charges to the customer over the life

of the mortgage loan. The customers agreed that payments would be withdrawn on the

same day of the month, each month, such as the first and the fifteenth of the month.

       3.     Bank of America manipulated the dates of the actual withdrawal from the

customer’s checking account and systematically and persistently withdrew the customer’s

payment one to five days (or even more) later than agreed. As a result of this conduct,

more interest accrued on the unpaid balance of the customer’s mortgage loan. Thus,

when a payment was actually applied later than agreed, more of that payment went

towards interest rather than principal than if the payment had been applied earlier, as

agreed. Bank of America persisted in this practice for its own gain to get more interest

from the customer, because the customer had enough funds in his or her account to make

the payment when agreed. Because of this practice, customers have paid thousands of

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dollars more in interest than they would have over the course of the loan than they would

have paid had Bank of America withdrawn the payments as agreed. Thus, despite its

promotion of the PayPlan to customers as a tool to save money, Bank of America actually

used this tool to take more money from its customers.

       4.     Bank of America has also offered and continues to offer versions of

PayPlan that simply automatically debit a customer’s bank account for loan payments

then due without any benefit of an earlier satisfaction of the mortgage. However, Bank

of America still takes advantage of the later than agreed withdrawal dates to manipulate

interest charges incurred by customers and thereby garner higher interest payments from

customers than it was rightfully due.

       5.     Bank of America further manipulated PayPlan and non-PayPlan customer

payments alike by processing customer mortgage payments such that customers paid

more interest than should have been due. Rather than truthfully following and reporting

the simple interest formula — a calculation which provides a daily interest charge on the

loan’s outstanding balance between payments — the Bank would instead charge interest

for a certain number of days that did not reflect the actual number of days between

payments. By using a higher number of days between payments than actually had

occurred, the Bank was able to take more of a customer’s payment as the interest

payment, rather than applying the correct (higher amount) towards principal. Thus, over

the life of the loan, this scheme allowed the Bank to charge a mortgage loan customer

higher interest charges than would have been paid if the Bank had properly calculated the

actual number of days between payments and applied the proper daily interest charge.

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       6.     Moreover, when Bank of America modified a customer loan, it unilaterally

reset the loan maturity date years past the original agreed upon maturity date, without

disclosing the new maturity date and loan terms to the customer. For example, in the

case of the Plaintiffs, the new payment schedule, after the loan was modified to correct

the promised interest rate, extended the loan obligation from its original maturity date in

2016 to the year 2029, resulting in tens of thousands of dollars in interest charges that

would never have accrued under the original agreement between the parties.

                              JURISDICTION AND VENUE

       7.     This Court has original jurisdiction of this action under the Class Action

Fairness Act of 2005. Pursuant to 28 U.S.C. §§ 1332(d)(2) and (6), this Court has

original jurisdiction because the aggregate claims of the putative Class members exceed

$5 million, exclusive of interest and costs, and at least one of the Plaintiffs is a resident of

a different state than Bank of America.

       8.     Venue is proper in this district pursuant to 28 U.S.C. § 1391 because Bank

of America is subject to personal jurisdiction here and regularly conducts business in the

Southern District of Texas, and because a substantial part of the events or omissions

giving rise to the claims asserted herein occurred and continue to occur in this district.

                                       THE PARTIES

       9.     Plaintiff Long Ba Nguyen, and Plaintiff Lan N. Huynh, husband and wife,

are residents of the State of Texas.

       10.    Bank of America is a national bank incorporated in the State of Delaware

which maintains its principal place of business in Charlotte, North Carolina. Bank of

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America regularly and systematically conducts business throughout the State of Texas,

including in this District. Among other things, Bank of America is engaged in the

business of providing mortgage loans to millions of consumers, including Plaintiffs and

members of the putative Classes. Bank of America is the nation’s largest mortgage

servicer.    Bank of America may be served through its registered agent, Barbara

Pennywell, 500 Dallas, Suite 31000, Houston, Texas 77002.

       11.    Citation and service are requested upon the Defendants.

                                CLASS ALLEGATIONS

       12.    Plaintiffs bring this action on behalf of themselves and all others similarly

situated pursuant to Fed. R. Civ. P. 23.          This action satisfies the numerosity,

commonality, typicality, adequacy, predominance and superiority requirements of Rule

23.

       13.    The proposed classes are defined as:

              All Bank of America mortgage loan customers in the United States
              who, within the applicable statute of limitations preceding the filing
              of this action to the date of class certification, were enrolled in a
              “PayPlan” automatic withdrawal payment plan and such withdrawals
              were done on days other than set forth in the customer agreements.

              All Bank of America mortgage loan customers in the United States
              who, within the applicable statute of limitations preceding the filing
              of this action to the date of class certification, whose daily interest
              charges between payments were miscalculated by the Bank.




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             All Bank of America mortgage loan customers in the United States
             who, within the applicable statute of limitations preceding the filing
             of this action to the date of class certification, had their loan
             unilaterally modified by the Bank such that their original loan
             maturity date extended beyond the maturity date originally agreed
             upon.

(collectively, “The National Classes”); and

             All Bank of America customers residing in Texas during the
             applicable statute of limitations preceding the filing of this actions to
             the date of class certification, for the purpose of asserting claims
             under the Texas state consumer protection statutes (the “State
             Subclasses”).

The National Classes and the State Subclasses are collectively referred to as the
“Classes” or “Class Members.”

      14.    Plaintiffs reserve the right to modify or amend the definition of the

proposed Classes before the Court determines whether certification is appropriate.

      15.    Excluded from the Classes are Bank of America, its parents, subsidiaries,

affiliates, officers and directors, any entity in which Bank of America has a controlling

interest, all customers who make a timely election to be excluded, governmental entities,

Plaintiffs' Counsel and their staff, and all judges assigned to hear any aspect of this

litigation, as well as their immediate family members.

      16.    The members of the Classes are so numerous that joinder is impractical.

The Classes consist of thousands of members, the identity of whom is within the

knowledge of and can be ascertained only by resort to Bank of America’s records.

      17.    The claims of the representative Plaintiffs are typical of the claims of the

Classes in that the representative Plaintiffs, like all Class members: 1) were enrolled in

PayPlan and as a result of Bank of America’s practice of withdrawing payments later

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than agreed, incurred higher interest charges; and/or 2) were subject to the Bank’s

purposeful miscalculation of daily interest charges accruing between payments to ensure

higher interest payments to the Bank than contemplated or agreed; and/or 3) were subject

to a unilateral modification of their mortgage loan that resulted in an undisclosed and not

agreed upon extension of their loan maturity date for years past the original agreed upon

date, resulting in customers incurring higher interest payments. The representative

Plaintiffs, like all Class members, have been damaged by Bank of America’s misconduct

in that they incurred and/or will continue to incur higher interest charges as a result of the

Bank’s deceptive, unfair and unconscionable practices. Furthermore, the factual basis of

Bank of America’s misconduct is common to all Class members, and represents a

common thread of deceptive, unfair and unconscionable conduct resulting in injury to all

members of the Classes.

         18.   There are numerous questions of law and fact common to the Classes and

those common questions predominate over any questions affecting only individual Class

members.

         19.   Among the questions of law and fact common to the Classes are whether

Bank of America:

               a.    Does not and/or did not withdraw payments as agreed in its PayPlan

automatic mortgage payment agreements;

               b.    Does and/or did deceptively promote its PayPlan option as a means

by which customers would lessen their interest payments over the course of the mortgage

loan;

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                 c.    Does and/or did receive more in interest from customers as a result

of its later than agreed withdrawals of PayPlan payments;

                 d.    Does and/or did commit fraud on its customers in the manner in

which it promoted PayPlan and manipulated PayPlan mortgage payment processing to

wrongfully gain more in interest payments from customers;

                 e.    Does and/or did purposely and persistently miscalculate the number

of days between customer loan payments such that it reported to customers it was due a

higher interest payment than was actually due;

                 f.    Does and/or did unilaterally modify customer mortgage loan

agreements such that loan maturity dates were extended years beyond the original agreed-

upon maturity date without disclosure or further agreement from the customer;

                 g.    Is and/or was unjustly enriched through its PayPlan policies and

practices; and

                 h.    Is and/or was violating the Texas Deceptive Trade Practices Act.

       20.       Other questions of law and fact common to the Classes include:

                 a.    The proper method or methods by which to measure damages, and

                 b.    The declaratory relief to which the Classes are entitled.

       21.       Plaintiffs’ claims are typical of the claims of other Class members, in that

they arise out of the same wrongful PayPlan related policies and practices and the same

or substantially similar PayPlan agreements and other related documents. Plaintiffs have

suffered the harm alleged and have no interests antagonistic to the interests of any other

Class member.

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       22.    Plaintiffs are committed to the vigorous prosecution of this action and have

retained competent counsel experienced in the prosecution of class actions and, in

particular, class actions on behalf of consumers and against financial institutions.

Accordingly, Plaintiffs are adequate representatives and will fairly and adequately protect

the interests of the Classes.

       23.    A class action is superior to other available methods for the fair and

efficient adjudication of this controversy. Since the amount of each individual Class

member’s claim is small relative to the complexity of the litigation, and due to the

financial resources of Bank of America, no Class member could afford to seek legal

redress individually for the claims alleged herein. Therefore, absent a class action, the

Class members will continue to suffer losses and Bank of America’s misconduct will

proceed without remedy.

       24.    Furthermore, even if class members could afford individual litigation, the

number of claims is so numerous and with causes of action arising in numerous

jurisdictions, the need for judicial economy and consistent decisions warrants a class

action. Given the complex legal and factual issues involved, individualized litigation

would significantly increase the delay and expense to all parties and to the Court.

Individualized litigation would also create the potential for inconsistent or contradictory

rulings. By contrast, a class action presents far fewer management difficulties, allows

claims to be heard which might otherwise go unheard because of the relative expense of

bringing individual lawsuits, and provides the benefits of adjudication, economies of

scale and comprehensive supervision by a single court.

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                        COMMON FACTUAL ALLEGATIONS

             The Later Than Agreed Automatic Payment Withdrawal Scheme

       25.      Bank of America promoted a “PayPlan” to its customers as a convenient

way to pay down the customer’s mortgage faster, by making two or more payments per

month, rather than one payment per month. By following PayPlan, customers were

promised, a mortgage would be paid off faster resulting in the payment of less interest to

the Bank over the life of the loan.

       26.      Under PayPlan, customers and the Bank agreed that payments would be

withdrawn from checking accounts on the same dates each month, such as the first and

the fifteenth of every month.

       27.      Instead of withdrawing payments as agreed on the agreed upon dates, Bank

of America persistently and continually withdrew payments from one to five days later

than agreed.

       28.      As a result of this late withdrawal practice, customer mortgage balances

were higher than they would have been for that period of days between the agreed upon

withdrawal date and the date of actual withdrawal. During that interim period, the loan

balance was still subject to interest, and therefore interest was accruing in that interim

period. Because the loan balance was higher during that interim period than it should

have been based on the agreement with the customer, the Bank was earning more interest

on the higher balance. Therefore when the payment was actually withdrawn, more of the

payment was applied to interest than to principal than would have been the case if the

payment had been withdrawn on the date agreed.

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       29.    Over the life of the loan, the extra interest the Bank was able to charge

during these interim periods amounts to an exorbitant and unjust sum of money that the

Bank collected from customers that it otherwise would not have collected had it

performed as agreed in a program that it promised customers would save them interest

charges over the life of the loan.

       30.    Upon information and belief, Bank of America utilized this later than

agreed withdrawal scheme for all mortgage loan customers enrolled in any of its PayPlan

or other automatic payment withdrawal plans.

        The Miscalculation of Simple Interest/Daily Interest Charges Scheme

       31.    The Bank utilizes a simple interest formula to calculate the interest per day

accruing on the outstanding loan balance between customer payments. The formula is

expressed as: (principal balance x interest rate)/365 x number of days between payments.

       32.    The Bank purposely and persistently used the wrong number of days

between payments than actually had occurred in order to garner more in interest charges

from a customer payment and have less of that payment apply towards principal.

Customers did not agree to this scheme and it was not disclosed to them.

       33.    Thus, over the course of the loan customers are/were charged and paid

higher interest charges than the Bank was entitled to receive had it properly calculated

and applied the daily interest formula.

               The Unilateral Extension of Loan Maturity Date Scheme

       34.    At times the Bank would unilaterally modify customer mortgage loans

without proper disclosure to or agreement from the customer. When the Bank performed

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this unilateral modification, the customer’s loan maturity date would be unilaterally

extended beyond the agreed upon maturity dates.

      35.    As a result, customers are subject to thousands of dollars in excess interest

charges than they had ever contemplated or agreed to when entering into a mortgage loan

agreement with the Bank.

                           The Plaintiffs’ PayPlan Experience

      36.    During the summer of 2001, Plaintiffs sought to re-finance their home

mortgage with Bank of America and did, in fact, refinance their loan with the Bank.

(Exhibit A). The Plaintiffs’ primary contact with Bank of America was through their

branch assistant vice-president, Lila Vu. In connection with the loan, Ms. Vu and Bank

of America offered some additional services: an automatic payment withdrawal service

and a borrower’s protection plan.     This automatic payment withdrawal service was

offered as part of the mortgage loan agreement, and there is no separate fee for it. The

loan itself was for 15 years and at a fixed interest rate of 7.25%. (Exhibit A). As part of

the re-finance agreement, Bank of America would pay-off the original loan and also

offered to “Pay all Fees” for the Bank of America loan.

      37.    The Deed of Trust dated August 1, 2001 states that the final payment is due

on August 13, 2016, which is consistent with the original terms of a 15 year Promissory

Note. (Exhibit A). The Simple Interest Promissory Note dated August 1, 2001 shows the

fixed rate of 7.25%. (Exhibit A). It also shows the final payment due on August 13,

2016. (Exhibit A). The Settlement Statement dated August 1, 2001 shows that “Bank

Pays All Fees.” (Exhibit A).

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       38.    Shortly after the loan was closed, Ms. Vu and Bank of America solicited

plaintiff with a bi-weekly or bi-monthly payment plan (“PayPlan”). (Bank of America

has also referred to this plan as a “bi-weekly” plan. Notwithstanding the plan’s name,

however, it calls for payments twice a month, instead of once a month.)            Bank of

America offered to automatically debit the Plaintiffs’ account twice a month, on the

fifteenth and the thirtieth each time in the amount of half of the total payment.

Regardless of the plan’s name, Ms. Vu told the Plaintiffs that the interest and the loan

would be paid off faster under this PayPlan. In exchange for agreeing to accept the new

PayPlan, Bank of America and Ms. Vu offered to lower the fixed interest rate by 0.5%.

The Plaintiffs agreed to Bank of America’s offer of PayPlan.

       39.    The Promissory Note was modified on September 21, 2001 to reflect the

new payment plan terms under PayPlan. (Exhibit B). The Modification Agreement

changed the payment date from the first of each month to the fifteenth and thirtieth of

each month. (Exhibit B). It also changed the amount of each payment to half of the

original amount. (Exhibit B). No other terms of the original agreement were changed.

       40.    However, the Plaintiffs later discovered that they were not given the 0.5%

rate reduction for switching to the new payment plan. After inquiring with Bank of

America for several months, the Plaintiffs finally talked with Derek Jenkins, Ms. Lila

Vu’s supervisor about the previously agreed rate reduction.                   In apparent

acknowledgement of its failure to abide by all of the terms of the initial modification, the

loan was again modified on March 19, 2002 to reflect the previously agreed to agreed

rate reduction and the corresponding reduced payment. (Exhibit C). The March 2002

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modification reduced the fixed interest rate by 0.5% from 7.25% to 6.75% and reduced

the bi-monthly payment from $643.73 twice a month to $430.47 twice a month. (Exhibit

C). No other terms were changed. No other Truth-In-Lending disclosures were made on

either loan modification.

       41.    For several years, Bank of America proceeded to make the automatic

withdrawals and the Plaintiffs paid the loan pursuant to the payment plan agreements

signed by the parties. Then on August 13, 2009, Bank of America for no apparent

reason, unilaterally cancelled the PayPlan plan Plaintiffs had been utilizing. (Exhibit D).

Bank of America unilaterally changed the terms and conditions of the payment plan.

Bank of America now imposed fees for the automatic payment service. Bank of America

unilaterally changed the payment dates. In short, the Plaintiffs were told that Bank of

America unilaterally cancelled the agreed payment plan. No explanation was provided to

the Plaintiffs for the aforementioned changes.

       42.    After Bank of America canceled their PayPlan, the Plaintiffs began

investigating their loan history. They discovered that not only did Bank of America

cancel the agreed payment plan, but Bank of America also extended the agreed loan

maturity date without any agreement, notice or Truth-In-Lending disclosures. (Exhibit

E). The Plaintiffs also discovered other Bank of America improprieties.

       43.    The Plaintiffs discovered that the payments under PayPlan were not timely

executed. Bank of America did not timely execute the payments, and instead persistently

and purposely withdrew payments one to five days later than agreed, thereby subjecting



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the Plaintiffs to greater interest charges than they would have been subjected to had the

Bank withdrawn on the due dates as agreed. (Exhibit F).

       44.    Upon further investigation, Plaintiffs discovered that after cancelling their

PayPlan the Bank began purposely and persistently miscalculating the daily interest

charges that should have applied to their loan for the number of days between payments.

The bank used a greater number of days between payments in its calculation than had

actually occurred, resulting in more of Plaintiffs’ payment going towards interest charges

rather than being applied to, and properly lowering their principal balance. (Exhibit G).

       45.    Additionally, a number of unauthorized automatic withdrawals were also

discovered.

                 The Damages Sustained by Plaintiffs and the Classes

       46.    As a consequence of Bank of America’s policies and practices as to, 1) the

later than agreed upon automatic withdrawal of loan payments, 2) the miscalculation of

days between loan payments, and 3) the unilateral and undisclosed extension of mortgage

loan maturity dates, Plaintiffs and the Classes have been wrongfully forced to pay higher

interest charges than were actually due to Bank of America on their mortgage loans.

Bank of America has improperly deprived Plaintiffs and the Classes of significant funds,

causing ascertainable monetary losses and damages.

       47.    As a consequence of Bank of America’s policies and practices, as detailed

above, Bank of America has wrongfully deprived Plaintiffs and the Classes of funds to

which it had no legitimate claim.



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       48.    All conditions precedent to the relief sought herein have either occurred or

have been performed or waived.

       49.    The date(s) on which the causes of action herein began to accrue, if it is

argued a statute of limitations applies to such causes of action or to any of them, is and/or

was delayed by the “discovery rule.” To this date, Bank of America has not disclosed

when or why it changed the contract terms, and Plaintiffs and Class Members could not

have discovered the Bank’s improper conduct with reasonable due diligence. Thus, any

statute did not begin to run or was equitably tolled until such time as the Plaintiffs have a

reasonable opportunity to discover Bank of America violations. Also, to this date, Bank

of America is still changing the contract terms in that it still is enforcing its unilaterally

changed terms.

       50.    The date(s) on which the causes of action herein began to accrue, if it is

argued a statute of limitations applies to such causes of action or to any of them, also is

and/or was delayed/tolled by the continuing fraud of Bank of America and/or the

fraudulent concealment of its own conduct by Bank of America.              Furthermore, the

repetitive wrongful conduct of Bank of America, committed monthly and/or bi-monthly

and/or weekly, constitutes a continuing tort. Each monthly or semi-monthly or weekly

withdrawal from Plaintiffs’ and Class Members’ accounts constitute a separate cause of

action. The statute of limitations for Plaintiffs’ and Class Members’ claims do not accrue

until the conduct ceases.




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                            FIRST CLAIM FOR RELIEF
                                 Breach of Contract
                          (On Behalf of the National Classes)

      51.     Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

      52.     The original loan agreements made between the Bank and Plaintiffs and

Class Members are valid enforceable contracts.

      53.     The Plaintiffs and Class Members were not in breach of their mortgage loan

agreements with the Bank as they performed all, or substantially all, of their obligations

pursuant to the agreements.

      54.     Bank of America breached their agreements with Plaintiffs and Class

Members by:

              a.     Purposely and persistently withdrawing mortgage loan payments

                     from Plaintiffs’ and Class Members’ bank accounts on a date later

                     than agreed, which resulted in Plaintiffs and Class Members

                     incurring higher interest charges than they would have had the Bank

                     not breached the agreements.

              b.     Purposely and persistently miscalculating the number of days

                     between Plaintiffs’ and Class Members’ loan payments, such that a

                     higher number of days was used in the simple interest formula than

                     had actually occurred, which resulted in Plaintiffs and Class

                     Members incurring higher interest charges than they would have had

                     the Bank not breached the agreements.

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              c.     Unilaterally modifying Plaintiffs’ and Class Members’ mortgage

                     loan agreement payment terms and the maturity date of said

                     agreements, which resulted in Plaintiffs and Class Members

                     incurring higher interest charges than they would have had the Bank

                     not breached the agreements.

       55.    Plaintiffs and Class Members have sustained damages as a result of Bank of

America’s breach of contract.

                           SECOND CLAIM FOR RELIEF
                               Declaratory Judgment
                          (On Behalf of the National Classes)

       56.    Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

       57.    The Plaintiffs and Class Members also seek a declaratory judgment

pursuant to 28 U.S.C. § 2201 and/or chapter 37 of the Texas Civil Practice and Remedies

Code. The Plaintiffs and Class Members request that this Court declare that the original

mortgage loan agreements made by and between Plaintiffs/Class Members and the Bank

constitute valid and enforceable contracts.

       58.    The Plaintiffs and Class Members further request a declaration that the

maturity date is the date as stated in the contracts and that the maturity date cannot be

unilaterally changed by Bank of America.




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                            THIRD CLAIM FOR RELIEF
                                Truth in Lending Act
                          (On Behalf of the National Classes)

        59.   Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

        60.   The Truth-In-Lending Act (“TILA”) is found at 15 USC § 1601, et seq.

Congress delegated the implementation of the TILA to the Federal Reserve Bank of

America. The Federal Reserve Bank of America in turn issued Regulation Z, which

comprises the set of rules for the TILA.

        61.   Bank of America violated the TILA by unilaterally changing the terms of

its agreements with Plaintiffs and Class Members without any TILA disclosures. See

Regulation Z, §226.20. Bank of America did not disclose the payment schedule, number

of payments, total amount financed, the APR, and the payment schedule at the time that it

unilaterally changed the contract terms.

        62.   Bank of America further violated the TILA by improperly charging interest

on mortgage loan balances that was neither disclosed nor agreed to by Plaintiffs and

Class Members

        63.    Thus, Plaintiffs and Class Members are entitled to statutory damages, in

addition to actual damages and attorneys’ fees, as authorized and permitted under the

TILA.




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                             FOURTH CLAIM FOR RELIEF
                               Negligent Misrepresentation
                            (On Behalf of the National Classes)

       64.      Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

       65.      Bank of America employees and representatives repeatedly represented to

the Plaintiffs and Class Members that the only terms of their existing agreements with the

Bank that would be modified/changed were those changes and modifications expressly

reflected in the loan documents and subsequent loan modifications. The maturity date

and PayPlan terms were to stay the same. Bank of America was also to pay all bank fees

for the original loan closing.

       66.      Bank of America also represented that by enrolling in PayPlan, Plaintiffs

and Class Members would benefit from the convenience of automatic payment

deductions and a faster loan payoff. It further represented that it would withdraw such

payments on the dates agreed to by the parties.

       67.      Bank of America also represented to Plaintiffs and Class Members that it

would calculate daily interest charges accurately such that a customer’s loan payment

was properly and appropriately applied and divided to interest and principal.

       68.      Bank of America unilaterally changed the terms of its “contracts” without

any prior notice or disclosures to the Plaintiffs and Class Members. Bank of America’s

actions   are    unreasonable    under    the     circumstances   and   constitute   negligent

misrepresentation.



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       69.    Bank of America made these representations in its course of business with

Plaintiffs and Class Members and has a pecuniary interest in the agreements with

Plaintiffs and Class Members.

       70.    Bank of America provided false information to Plaintiffs and Class

Members concerning their mortgage loan agreements including, but not limited to, agreed

dates of withdrawal of automatic loan payments, the benefits of PayPlans, the calculation

of simple interest daily charges, the amount of interest charges incurred, and loan

maturity dates. By providing such false information, Plaintiffs and Class Members were

unable to make informed decisions in the course of their dealings with the Bank.

       71.    Bank of America did not use reasonable care in conveying the false

information to Plaintiffs and Class Members.

       72.    The Plaintiffs and Class Members justifiably relied on the Bank’s false

information and have suffered a pecuniary loss as a result.

       73.    Furthermore, Bank of America’s actions constitute fraud, gross negligence,

and malice under chapter 41 of the Texas Civil Practice and Remedies Code. Thus, Bank

of America is subject to exemplary damages.

                                FIFTH CLAIM FOR RELIEF
                                         Conversion
                              (On Behalf of the National Classes)

       74.    Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

       75.    Bank of America had and continues to have a duty to maintain and preserve

its customers’ mortgage loan accounts such that the accounts are not processed in such a

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way as to diminish the monies of Plaintiffs and Class Members through its own

wrongful acts.

       76.     Bank of America has wrongfully collected interest charges it was not

entitled to from Plaintiffs and Class Members, and has taken specific and readily

identifiable funds from their mortgage loan payments in order to satisfy those wrongful

interest charges.

       77.     Bank of America has, without proper authorization, assumed and exercised

the right of ownership over these funds, in hostility to the rights of Plaintiffs and Class

Members, without legal justification.

       78.     Bank of America continues to retain these funds unlawfully without the

consent of Plaintiffs or Class Members.

       79.     Bank of America intends to permanently deprive Plaintiffs and Class

Members of these funds.

       80.     These funds are properly owned by Plaintiffs and Class Members, not Bank

of America, which now claims that it is entitled to their ownership, contrary to the rights

of Plaintiffs and Class Members.

       81.     Plaintiffs and Class Members are entitled to the immediate possession of

these funds.

       82.     Bank of America has wrongfully converted these specific and readily

identifiable funds.

       83.     Bank of America’s wrongful conduct is continuing.



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       84.    As a direct and proximate result of this wrongful conversion, Plaintiffs and

Class Members have suffered and continue to suffer damages.

       85.    By reason of the foregoing, Plaintiff and Class Members are entitled to

recover from Bank of America all damages and costs permitted by law, including all

amounts that Bank of America has wrongfully converted.

                            SIXTH CLAIM FOR RELIEF
                                 Unjust Enrichment
                          (On Behalf of the National Classes)

       86.    Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

       87.    Plaintiffs, on behalf of themselves and Class Members, assert a common

law claim for unjust enrichment.

       88.    By means of Bank of America’s wrongful conduct alleged herein, Plaintiffs

and Class Members were induced to pay higher interest charges because of the fraud,

deception and undue advantage of Bank of America in its mortgage loan payments

processing practices. The Bank controls all of its processes and policies and Plaintiff and

Class Members have no control over the Banks processes and policies.

       89.    Bank of America knowingly received and retained wrongful benefits and

funds from Plaintiffs and Class Members. In so doing, Bank of America acted with

conscious disregard for the rights of Plaintiffs and Class Members.

       90.    As a result of Bank of America’s wrongful conduct as alleged herein, Bank

of America has been unjustly enriched at the expense of, and to the detriment of,

Plaintiffs and Class Members.

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       91.    Bank of America’s unjust enrichment is traceable to, and resulted directly

and proximately from, the conduct alleged herein.

       92.    Under the common law doctrine of unjust enrichment, it is inequitable for

Bank of America to be permitted to retain the benefits it received, and is still receiving,

without justification, from the imposition of higher interest charges to Plaintiffs and Class

Members in an unfair, unconscionable, and oppressive manner. Bank of America’s

retention of such funds under circumstances making it inequitable to do so constitutes

unjust enrichment.

       93.    The financial benefits derived by Bank of America rightfully belong to

Plaintiffs and Class Members. Bank of America should be compelled to disgorge in a

common fund for the benefit of Plaintiffs and Class Members all wrongful or inequitable

proceeds received by them. A constructive trust should be imposed upon all wrongful or

inequitable sums received by Bank of America traceable to Plaintiffs and Class Members.

       94.    Plaintiffs and Class Members have no adequate remedy at law.

                              SEVENTH CLAIM FOR RELIEF
                             Texas Deceptive Trade Practices Act
                              (On Behalf of the State Subclasses)

       95.    Plaintiffs incorporate by reference the allegations set forth in paragraphs 1

through 50 above.

       96.    The PayPlan auto-debit services and calculation of interest per mortgage

loan agreements offered to Plaintiffs are an integral part of this case. Consequently, the

Plaintiffs are consumers under the Texas Deceptive Trade Practices Act (“DTPA”) and

assert that Bank of America violated the DTPA.

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       97.    Bank of America represented that it entered an enforceable contract.

However, Bank of America simply changed the terms of the “contract” as it saw fit.

Bank of America represented that the Note and Modifications conferred rights and

obligations that it apparently did not have in violation of § 17.46 of the DTPA. More

specifically, Bank of America violated sections 17.46(b)(2), 17.46 (b)(5), 17.46(b)(7),

17.46(b)(i), 17.46(b)(12), 17.46(b)(24), and 17.50(a)(3).

       98.    Moreover, Bank of America’s acts constitute unconscionable actions that

took advantage of its customers’ lack of knowledge to a grossly unfair degree.

       99.    Because Bank of America intentionally and knowingly unilaterally changed

the payment terms and maturity date, it is liable for treble damages, mental anguish

damages, and reasonable and necessary attorneys’ fees.

                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs, on behalf of themselves and the Classes demand a jury

trial on all claims so triable and judgment as follows:

       1.     Declaring Bank of America’s mortgage loan policies and practices, as

described herein, to be wrongful, unfair and unconscionable;

       2.     Restitution of all improperly charged interest fees paid to Bank of America

by Plaintiffs and the Classes, as a result of the wrongs alleged herein, within the

applicable statutes of limitations, in an amount to be determined at trial;

       3.     Disgorgement of the ill-gotten gains derived by Bank of America from its

misconduct;

       4.     Statutory damages as allowed by applicable laws and regulations;

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      5.     Actual damages in an amount according to proof;

      6.     Punitive and exemplary damages;

      7.     Pre-judgment interest at the maximum rate permitted by applicable law;

      8.     Costs and disbursements incurred by Plaintiffs in connection with this

action, including reasonable attorneys’ fees pursuant to applicable law; and

      9.     Such other relief as this Court deems just and proper.

Dated: June 27, 2011

                                  Respectfully Submitted,

                                  /s Anthony G. Buzbee
                                  Anthony G. Buzbee, Attorney in Charge
                                  (Texas Bar No. 24001820; Federal Bar No. 22679)
                                  THE BUZBEE LAW FIRM
                                  JP Morgan Chase Tower
                                  600 Travis, Suite 7300
                                  Houston, Texas 77002
                                  Tel: (713) 223-5393
                                  Fax: (713)223-5909
                                  Email: tbuzbee@txattorneys.com

                                  Jeremy W. Alters
                                  (Fla. Bar No. 111790)
                                  Email: jeremy@alterslaw.com
                                  David C. Rash
                                  (Fla. Bar No. 0977764)
                                  Email: david@alterslaw.com
                                  Matthew T. Moore
                                  (Fla. Bar No. 70034)
                                  Email: matthew@alterslaw.com
                                  ALTERS LAW FIRM, P.A.
                                  Miami Design District
                                  4141 NE 2nd Avenue
                                  Suite 201
                                  Miami, Florida 33137
                                  Tel: (305) 571-8550
                                  Fax: (305) 571-8558

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                         Minh Tam (Tammy) Tran
                         (Texas Bar No. 20186400; Federal Bar No. 328541)
                         Email: ttran@ttran-lawfirm.com
                         Pete Mai
                         (Texas Bar No. 24029702; Federal Bar No. 1033613)
                         Email: pmai@ttran-lawfirm.com
                         John Na
                         (Texas Bar No. 24074786; Federal Bar No. 1125428)
                         Email: jna@ttran-lawfirm.com
                         THE TAMMY TRAN LAW FIRM,
                         ATTORNEYS AT LAW, L.P.
                         2915 Fannin Street
                         Houston, TX 77002
                         Tel: (713) 655-0737
                         Fax: (713) 655-0823

                         Attorneys for Plaintiffs




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